          Case
AO 106 (Rev. 04/10) 2:18-mj-03256-DUTY
                    Application for a Search Warrant        Document 1 Filed 12/11/18 Page 1 of 36 Page ID #:1

                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                            Central District
                                                         __________  Districtofof
                                                                                California
                                                                                  __________

                   In the Matter of the Search of                          )
           (Briefly describe the property to be searched or identify the   )
                           person by name and address)                     )        Case No. 2:18-mj-3256
                                                                           )
    1422 North Sweetzer Avenue, Apartment 306, West                        )
    Hollywood, California                                                  )
                                                                           )
                                                                           )

                                                APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
      See Attachment A
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                     evidence of a crime;
                     contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                              Offense Description
        21 U.S.C. § 841                                                    Possession with intent to distribute and distribution
                                                                           of controlled substances

        21 U.S.C. § 841                                                    Conspiracy and attempt to distribute controlled
                                                                           substances

          The application is based on these facts:
                 See attached Affidavit
                   Continued on the attached sheet.
        Delayed notice of            days (give exact ending date if more than 30 days:                                      ) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                    Applicant’s signature
                                                                                William B. Petty, Special Agent, Homeland Security Investigations
Sworn to before me and signed in my presence.                                                       Printed name and title


Date:
                                                                                                      Judge’s signature

City and state: Los Angeles, CA                                                Paul Abrams, United States Magistrate Judge
                                                                                                    Printed name and title
AUSA: Robert White ((313) 226-9620); Sara Milstein (x8611)
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                              ATTACHMENT A
PREMISES TO BE SEARCHED

     The residence located at 1422 North Sweetzer Avenue,

Apartment 306, West Hollywood, CA 90069 (the “SUBJECT

PREMISES”).    The SUBJECT PREMISES is located inside a gated

apartment complex named Sunset Lanai Apartments.         Building 1422

is a three story residential apartment building constructed from

concrete block and the exterior is white-colored stucco with a

grey roof.    On the wall of the building, there are three dark

colored circles with white letters reads “sunset Lanai 1422”.

Parking spaces for residents are located underneath the

building.    Access to the lobby is secured by a locked dark

colored metal fence where guests are buzzed in by the resident

via a call box.

     The SUBJECT PREMISES to be searched includes: (a) all

rooms, porches, containers, and safes in the SUBJECT PREMISES

and vehicles associated with the SUBJECT PREMISES; (b) the

driveway, and any detached or attached garages, carports,

vehicles, storage spaces, or other outbuildings on the SUBJECT

PREMISES; (c) any digital devices inside the SUBJECT PREMISES.




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                              ATTACHMENT B

I.   ITEMS TO BE SEIZED
          The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C. §§ 841

(possession with intent to distribute and distribution of

controlled substances) and 846 (conspiracy and attempt to

distribute controlled substances) (the “Subject Offenses”),

namely:

          a.    Any controlled substance, controlled substance

analogue, or listed chemical;

          b.    Items and paraphernalia for the manufacturing,

distributing, packaging, sale, or weighing of controlled

substances, including scales and other weighing devices, plastic

baggies, food saver sealing devices, heat sealing devices,

balloons, packaging materials, containers, and money counters;

          c.    Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, carbon paper, rubber bands, duct tape

or wrapping tape, plastic wrap or shrink wrap, and plastic

sealing machines;

          d.    United States currency over $1,000 or bearer

instruments worth over $1,000 (including cashier's checks,

traveler’s checks, certificates of deposit, stock certificates,

and bonds) (including the first $1,000), and data, records,

documents, or information (including electronic mail, messages

over applications and social media, and photographs) pertaining

to, obtaining, possessing, using, applications for, or



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transferring money over $1,000, such as bank account records,

cryptocurrency records and accounts;

          e.    Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with co-conspirators, sources of supply of

controlled substances, or drug customers, including calendars,

address books, telephone or other contact lists, pay/owe

records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities,

and/or times when drugs were bought, sold, or otherwise

distributed, whether contained in hard copy correspondence,

notes, emails, text messages, photographs, videos (including

items stored on digital devices), or otherwise;

          f.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          g.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

          h.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,



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Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;

          i.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs;

          j.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          k.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          l.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;



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                iii. evidence of the attachment of other devices;

                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

          As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

          As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;



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desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES
           In searching digital devices (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital devices on-site or

seize and transport the devices and/or forensic images thereof

to an appropriate law enforcement laboratory or similar facility

to be searched at that location.      The search team shall complete

the search as soon as is practicable but not to exceed 120 days

from the date of execution of the warrant.        The government will

not search the digital devices and/or forensic images thereof

beyond this 120-day period without obtaining an extension of

time order from the Court.



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           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

           c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.




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           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.




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           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offenses listed above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           6.    During the execution of this search warrant, law

enforcement is permitted to: (1) depress YASS’s thumb- and/or

fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in



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front of YASS’s face with his or her eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.         In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT
I, William Petty, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of an application

for a warrant to search 1422 North Sweetzer Avenue, Apartment

306, West Hollywood, California (the “SUBJECT PREMISES”), as

described more fully in Attachment A.

           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

21 U.S.C. §§ 841 (possession with intent to distribute and

distribution of controlled substances) and 846 (conspiracy and

attempt to distribute controlled substances) (the “Subject

Offenses”), as described more fully in Attachment B.

Attachments A and B are incorporated herein by reference.

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrant,

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

             II. BACKGROUND OF SPECIAL AGENT WILLIAM PETTY
           I am a Special Agent with the United States Department

of Homeland Security - Homeland Security Investigations (“HSI”),
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and have been so employed since 2010.        I have received training

in identifying various controlled substances and conducting

narcotics and illegal drug investigations. I have been involved

in numerous dangerous-drug cases involving undercover buys,

arrests, and execution of search warrants.         I have spoken and

worked with other law enforcement agents with extensive

experience in illegal drug investigations.         I have made numerous

arrests for violations of Title 21 of the United States Code,

and am familiar with the identification of many types of

controlled substances by sight and color, including marijuana,

cocaine, and methamphetamines.

                    III. SUMMARY OF PROBABLE CAUSE
            Using the address of the SUBJECT PREMISES, YASS sold a

total of approximately 630 grams of methamphetamine in three

transactions involving packages sent by mail to someone he

thought was a drug customer, but who was actually an undercover

HSI agent (the “UC”).     The packing slips for the packages

containing methamphetamine show that the packages were sent from

YASS at the SUBJECT PREMISES. YASS also directed the UC to pay

for the methamphetamine in money orders sent to the SUBJECT

PREMISES.   Additionally, as recently as December 6, 2018, YASS

arranged via phone calls and text messages to sell approximately

2 pounds of methamphetamine to the UC, at a meeting location to

be determined in the vicinity of Long Beach, California.           A

United States Magistrate Judge in the Eastern District of

Michigan issued a complaint and arrest warrant for violations of

Title 21, United States Code, Sections 841 and 846.



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           Law enforcement believes YASS continues to reside at

the SUBJECT PREMISES because, among other things, of YASS’s use

of the address of the SUBJECT PREMISES requested payment be sent

to him at the SUBJECT PREMISES, and because surveillance agents

saw the car registered to YASS parked at the SUBJECT PREMISES on

multiple occasions.

                    IV. STATEMENT OF PROBABLE CAUSE
           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      A.   The CS Identifies YASS as His/Her Source of
           Methamphetamine Supply
           The CS told law enforcement that a person named

“Warren” was a methamphetamine trafficker. 1        The CS said that the

CS had purchased narcotics from “Warren” at least ten times,

with “Warren” shipping the purchased narcotics via the United

States Postal Service (“USPS”).       The CS possessed a United

States priority express mail receipt addressed to “Warren Yass”

at the SUBJECT PREMISES.      Subsequently, USPS placed an alert on

the SUBJECT PREMISES.

           Law enforcement identified a package being shipped

from a nonexistent address in West Hollywood, California, to an

address in Pontiac, Michigan (“Package 1”).

           a.    USPS intercepted Package 1, and on or about March

7, 2018, the Honorable R. Steven Whalen, United States

      1The information the CS has given to law enforcement
officers has thus far proved to be truthful and reliable. The
CS has a prior felony conviction for possession of
methamphetamine.


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Magistrate Judge for the Eastern District of Michigan, issued a

warrant to search Package 1.       Package 1 contained approximately

240 grams of a crystalline substance that tested positive for

properties of methamphetamine.       Based on my training and

experience, and from my conversations with other law enforcement

officers, this quantity of methamphetamine is consistent with

distribution.

           b.    I know from other investigators on this case that

law enforcement searched USPS databases and found out that

Package 1 was sent from a USPS post office in West Hollywood,

California on or about March 5, 2018.

           Agents reviewed Post Office security camera footage

from the Hollywood, California USPS post office from on or about

March 5, 2018, and saw an individual agents believe to be YASS

mailing three packages that were similar in size, color, and

shape to the Package 1.      Agents reviewing the Post Office

security video recognized YASS because they had previous

reviewed YASS’s photograph from YASS’s Facebook profile.           Law

enforcement also showed YASS’s driver’s license photograph to

the CS, and the CS positively identified the photo as the

individual as “Warren.”

           On or about March 7, 2018, I know that USPS inspectors

learned that Package 1 was tracked online using from two

Internet Protocol (“IP”) address.       Using administrative

subpoenas, HSI agents learned that one of the IP addresses was

registered to the CS in Michigan, and the other IP address was

registered to YASS at the SUBJECT PREMISES.



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      B.   YASS Sells Methamphetamine to an Undercover HSI Agent
           On or about July 9, 2018, YASS began coordinating drug

shipments with someone YASS thought was a drug customer, but who

was, in fact, an undercover HSI agent (the “UC”).

           YASS and the UC communicated by telephone in recorded

phone calls and by text message.       I have reviewed the recorded

calls and text messages. 2

           On or about July 13, 2018, the UC called YASS at (323)

638-4894 (the “4894 Number”), the number the CS said belonged to

YASS.

           a.    Agents searched the 4894 Number in a commercial

database and learned that the 4894 Number is registered to YASS

at the SUBJECT PREMISES.

           In the July 13, 2018 text messages, YASS agreed to

ship the UC a package containing approximately 2 ounces of

methamphetamine in exchange for $1,000.        On or about July 18,

2018 the UC received a package containing approximately 2 ounces

of methamphetamine.     The sender of the package is listed as

“Walter Smith,” and the package is listed as coming from the

SUBJECT PREMISES.

           Subsequently, the UC and YASS exchanged multiple text

messages to coordinate the shipment of the methamphetamine and

the transfer of payment between YASS in California and the UC in

Detroit.



      2Based on the communication between YASS and the UC and on
my conversations with the UC, I identified the voices on these
recordings as belonging to the UC and to YASS.


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            On or about July 13, 2018, the UC received the

following text message from YASS using the 4894 Number: “Warren

Yass 1422 N Sweetzer Ave Apt 306 West Hollywood, CA 90069.”

This address is the SUBJECT PREMISES.

            On or about July 16, 2018, the UC purchased a USPS

money order for $1,000 and mailed it USPS Priority Mail

Express/Next Day to YASS at the SUBJECT PREMISES.

            On or about July 16, 2018, the UC sent a text message

to YASS on the 4894 Number with an image of the USPS shipping

receipt/tracking number to YASS.       Shortly after, the UC sent a

text message to YASS with the UC’s shipping address in Detroit,

Michigan.

            On or about July 17, 2018, the UC received the

following text message from YASS on the 4894 Number: “Hey [UC] –

sorry I didn’t send it out yesterday – I’ll throw in an extra

ball on the house.     But I have some options for you – I’m

getting a new batch today, I just likely won’t have it in time

to get it out for delivery tomorrow. I can wait, or I can throw

together a mix bag of a few different batches that I have on

hand – what would you prefer?”

            a.   In my training and experience, and from speaking

with other law enforcement officers, I believe that the term

“ball” refers to 3.5 grams of a narcotic.

            On or about July 17, 2018, the UC replied the

following: “Hi Warren. I’ll take the mixed bag for now. Can you

send it out today?”




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           On or about July 17, 2018, the UC received the

following text message from YASS on the 4894 Number: “How much

money did you send”

           On or about July 17, 2018, the UC replied the

following to the 4894 Number: “$1000”

           On or about July 17, 2018, the UC received a text

message from YASS containing an image of a shipping receipt with

a USPS tracking number EM032644792US (the “Tracking Number”).

YASS also sent the following text message: “And I was able to

get you 2o + 1b same batch.”

           a.    In my training and experience, and from speaking

with other law enforcement officers, I believe that the terms

“2o” and “1b” refer to 2 ounces and 1 ball (or 3.5 grams).

           On or about July 18, 2018, the UC received a USPS

delivery notice referencing the Tracking Number, went to a USPS

post office, and was given a USPS Priority Mail Express envelope

displaying the Tracking Number.

           The package bearing the Tracking Number contained a

crystalline substance.      Oakland County Sheriff crime laboratory

analyzed the substance contained inside the package sent from

YASS to the UC and determined that the substance was

approximately 59.89 grams of methamphetamine.

           a.    In my training and experience, I believe that

this quantity of methamphetamine is consistent with

distribution.

           On or about July 18, 2018, the UC received the

following text message from YASS on the 4894 Number: “All good?”



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           On or about July 18, 2018, the UC replied the

following to the 4894 Number: “All good.”

           The UC conducted two additional drug purchases from

YASS by communicating with YASS by phone and text message on the

4894 Number.

           a.    On or about July 30, 2018, the UC received a

mailing from YASS that contained suspected methamphetamine, for

which the UC had paid to YASS $1,750 by money order.           The

Oakland County Sheriff Crime Laboratory later analyzed the

suspected methamphetamine and determined that it was

approximately 115.89 grams of methamphetamine.

           b.    On or about August 21, 2018, the UC received a

mailing from YASS that contained suspected methamphetamine, for

which the UC had paid to YASS $5,000 by money order.           The

Oakland County Sheriff Crime Laboratory later analyzed the

suspected methamphetamine and determined that it was

approximately 389.09 grams of methamphetamine.

           To date, YASS has shipped to the UC a total of

approximately 630 grams of methamphetamine in three packages

listing fictitious return addresses.

      C.   USPS Intercepts an Additional Drug Package Sent to the
           SUBJECT PREMISES
           In or about November 2018, a Postal Inspector

intercepted a package that was sent on or about November 1,

2018, from New Jersey to the SUBJECT PREMISES.          A federal

warrant was issued to search the package after a narcotic canine

alerted to the presence of drugs or drug residue on or inside




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the package.    The package was opened and contained what was

later tested and confirmed to be approximately 12 grams of MDMA,

a controlled substance analogue.

      D.   Complaint and Arrest Warrant Issued for YASS
           On or about December 7, 2018, United States Magistrate

Judge Mona K. Majzoub, of the Eastern District of Michigan,

issued a complaint and arrest warrant against YASS for

violations of 21 U.S.C. §§ 846 and 841.

      E.   YASS Offers to Sell Two Pounds of Methamphetamine to
           the UC
           In calls and text messages on or about December 6,

2018, YASS, using the 4894 Number, coordinated the sale of two

pounds of methamphetamine with the UC.        Specifically, the UC

said that a truck driver working with the UC would be traveling

to California and driving back to Michigan.         In response, YASS

stated they were “going to work something out for sure.”           YASS

also told the UC that the price for a pound is “5000,” but

because the UC was ordering two pounds, YASS would give the UC a

price “break,” and would charge him “9500 maybe.”

      F.   Investigation of the SUBJECT PREMISES
           Based on a search of records from the California

Department of Motor Vehicles (“DMV”), I know that YASS reported

the SUBJECT PREMISES as his residence.

           From DMV records, I also learned that a blue 2013

Volvo with California license number 6YSG692 (the “Volvo”) is

registered to YASS at the SUBJECT PREMISES.




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            On or about December 7, 2018, I know from HSI

surveillance agents that the Volvo was parked in the underground

parking structure beneath the building that houses the SUBJECT

PREMISES.

            As detailed above, an IP address registered to YASS at

the SUBJECT PREMISES was tracking a package that was confirmed

to contain drugs.

            As noted above, the 4894 Number that YASS has

repeatedly used to communicate with the UC is subscribed to YASS

at the SUBJECT PREMISES.

            Also as noted above, in conversations between YASS and

the UC, with YASS using the 4894 Number, YASS requested that

payment for drugs be sent to the SUBJECT PREMISES.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
            Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

            a.   Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel in connection with their illegal

activities to meet with co-conspirators, conduct drug

transactions, and transport drugs or drug proceeds.

            b.   Drug traffickers, including those who distribute

drugs through the mail, often maintain books, receipts, notes,

ledgers, bank records, and other records relating to the



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manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residence.         Drug traffickers

often keep records of meetings with associates, customers, and

suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

           e.    Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.



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            f.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences and vehicles.

            g.    Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residence

or in safes.     They also often keep other items related to their

drug trafficking activities at their residence, such as digital

scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker’s residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

            h.    It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
            As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal



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digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.     Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

I know that data in digital form can be stored on a variety of

digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

           a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.      There are so many types of digital

devices and software programs in use today that it takes time to

conduct a thorough search.      In addition, it may be necessary to

consult with specially trained personnel who have specific

expertise in the type of digital device, operating system, and

software application being searched.

           b.    Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.



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Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover “hidden,” erased,

compressed, encrypted, or password-protected data.          As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

           c.    The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

search for data during the physical search of the premises.            A

single megabyte of storage space is the equivalent of 500

double-spaced pages of text.       A single gigabyte of storage

space, or 1,000 megabytes, is the equivalent of 500,000 double-

spaced pages of text.     Storage devices capable of storing 500 or

more gigabytes are now commonplace.         Consequently, just one

device might contain the equivalent of 250 million pages of

data, which, if printed out, would completely fill three 35’ x

35’ x 10’ rooms to the ceiling.       Further, a 500 gigabyte drive

could contain as many as approximately 450 full run movies or

450,000 songs.

           d.    Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet. 3

Electronic files saved to a hard drive can be stored for years


      3These statements do not generally apply to data stored in
volatile memory such as random-access memory, or “RAM,” which
data is, generally speaking, deleted once a device is turned
off.


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with little or no cost.      Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.      Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.        Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.     In addition, a computer’s operating

system may also keep a record of deleted data in a swap or

recovery file.    Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.     The browser typically maintains a fixed

amount of hard drive space devoted to these files, and the files

are only overwritten as they are replaced with more recently

downloaded or viewed content.       Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user’s operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive

requires specialized tools and a controlled laboratory

environment.    Recovery also can require substantial time.

           e.    Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital



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devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

devices are, as described further in the attachments, called for

by this warrant.     Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.    Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has

been deleted from a word processing file).         Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.          Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.        Computer file systems can

record data about the dates files were created and the sequence

in which they were created.      This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a




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controlled laboratory environment, and also can require

substantial time.

           f.    Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.           For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.     Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

           g.    Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension “.jpg” often are image

files; however, a user can easily change the extension to “.txt”

to conceal the image and make it appear that the file contains

text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a “dongle” or “keycard,” is necessary to decrypt the data into

readable form.    In addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a



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process called “steganography.”       For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain “booby traps” that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby

traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.       In addition, decryption of

devices and data stored thereon is a constantly evolving field,

and law enforcement agencies continuously develop or acquire new

methods of decryption, even for devices or data that cannot

currently be decrypted.

           As discussed herein, based on my training and

experience I believe that digital devices will be found during

the search and I believe that one or more of these digital

devices will be enabled with biometric unlock functionality.

           a.    I know from my training and experience and my

review of publicly available materials that several hardware and

software manufacturers offer their users the ability to unlock

their devices through biometric features in lieu of a numeric or

alphanumeric passcode or password.        These biometric features

include fingerprint-recognition, face-recognition, iris-

recognition, and retina-recognition.        Some devices offer a

combination of these biometric features and enable the users of

such devices to select which features they would like to

utilize.



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           b.    If a device is equipped with a fingerprint

scanner, a user may enable the ability to unlock the device

through his or her fingerprints.       For example, Apple Inc.

(“Apple”) offers a feature on some of its phones and laptops

called “Touch ID,” which allows a user to register up to five

fingerprints that can unlock a device.        Once a fingerprint is

registered, a user can unlock the device by pressing the

relevant finger to the device’s Touch ID sensor, which on a cell

phone is found in the round button (often referred to as the

“home” button) located at the bottom center of the front of the

phone, and on a laptop is located on the right side of the

“Touch Bar” located directly above the keyboard.          Fingerprint-

recognition features are increasingly common on modern digital

devices.   For example, for Apple products, all iPhone 5S to

iPhone 8 models, as well as iPads (5th generation or later),

iPad Pro, iPad Air 2, and iPad mini 3 or later, and MacBook Pro

laptops with the Touch Bar are all equipped with Touch ID.

Motorola, HTC, LG, and Samsung, among other companies, also

produce phones with fingerprint sensors to enable biometric

unlock by fingerprint.      The fingerprint sensors for these

companies have different names but operate similarly to Touch

ID.

           c.    If a device is equipped with a facial-recognition

feature, a user may enable the ability to unlock the device

through his or her face.      To activate the facial-recognition

feature, a user must hold the device in front of his or her

face.   The device’s camera analyzes and records data based on



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the user’s facial characteristics.        The device is then

automatically unlocked if the camera detects a face with

characteristics that match those of the registered face.           No

physical contact by the user with the digital device is

necessary for the unlock, but eye contact with the camera is

often essential to the proper functioning of these facial-

recognition features; thus, a user must have his or her eyes

open during the biometric scan (unless the user previously

disabled this requirement).      Several companies produce digital

devices equipped with a facial-recognition-unlock feature, and

all work in a similar manner with different degrees of

sophistication, e.g., Samsung’s Galaxy S8 (released Spring

2017) and Note8 (released Fall 2017), Apple’s iPhone X (released

Fall 2017).     Apple calls its facial-recognition unlock feature

“Face ID.”    The scan and unlock process for Face ID is almost

instantaneous, occurring in approximately one second.

           d.     While not as prolific on digital devices as

fingerprint- and facial-recognition features, both iris- and

retina-scanning features exist for securing devices/data.           The

human iris, like a fingerprint, contains complex patterns that

are unique and stable.      Iris-recognition technology uses

mathematical pattern-recognition techniques to map the iris

using infrared light.     Similarly, retina scanning casts infrared

light into a person’s eye to map the unique variations of a

person’s retinal blood vessels.       A user can register one or both

eyes to be used to unlock a device with these features.           To

activate the feature, the user holds the device in front of his



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or her face while the device directs an infrared light toward

the user’s face and activates an infrared-sensitive camera to

record data from the person’s eyes.         The device is then unlocked

if the camera detects the registered eye.         Both the Samsung

Galaxy S8 and Note 8 (discussed above) have iris-recognition

features.    In addition, Microsoft has a product called “Windows

Hello” that provides users with a suite of biometric features

including fingerprint-, facial-, and iris-unlock features.

Windows Hello has both a software and hardware component, and

multiple companies manufacture compatible hardware, e.g.,

attachable infrared cameras or fingerprint sensors, to enable

the Windows Hello features on older devices.

            In my training and experience, users of electronic

devices often enable the aforementioned biometric features

because they are considered to be a more convenient way to

unlock a device than entering a numeric or alphanumeric passcode

or password.    Moreover, in some instances, biometric features

are considered to be a more secure way to protect a device’s

contents.

            I also know from my training and experience, as well

as from information found in publicly available materials

including those published by device manufacturers, that

biometric features will not unlock a device in some

circumstances even if such features have been enabled.           This can

occur when a device has been restarted or inactive, or has not

been unlocked for a certain period of time.         For example, with

Apple’s biometric unlock features, these circumstances include



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when: (1) more than 48 hours has passed since the last time the

device was unlocked; (2) the device has not been unlocked via

Touch ID or Face ID in eight hours and the passcode or password

has not been entered in the last six days; (3) the device has

been turned off or restarted; (4) the device has received a

remote lock command; (5) five unsuccessful attempts to unlock

the device via Touch ID or Face ID are made; or (6) the user has

activated “SOS” mode by rapidly clicking the right side button

five times or pressing and holding both the side button and

either volume button.     Biometric features from other brands

carry similar restrictions.      Thus, in the event law enforcement

personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a

biometric feature may exist for only a short time.           I do not

know the passcodes of the devices likely to be found during the

search.

           In my training and experience, the person who is in

possession of a device or has the device among his or her

belongings at the time the device is found is likely a user of

the device.

           For these reasons, if while executing the warrant, law

enforcement personnel encounter a digital device that may be

unlocked using one of the aforementioned biometric features, the

warrant I am applying for would permit law enforcement personnel

to: (1) compel the use of YASS’s thumb- and/or fingerprints on

the devices; and (2) hold the devices in front of YASS’s face

with his eyes open to activate the facial-, iris-, and/or



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retina-recognition feature.      With respect to fingerprint sensor-

enabled devices, although I do not know which of the fingers are

authorized to access any given device, I know based on my

training and experience that it is common for people to use one

of their thumbs or index fingers for fingerprint sensors; and,

in any event, all that would result from successive failed

attempts is the requirement to use the authorized passcode or

password.

            Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VII. CONCLUSION
            For all of the reasons described above, there is

probable cause to believe that the items to be seized described

in Attachment B will be found in a search of the SUBJECT

PREMISES described in Attachment A.




                                         William Petty, Special Agent
                                         Department of Homeland
                                         Security

Subscribed to and sworn before me
this ____ day of December, 2018.



UNITED STATES MAGISTRATE JUDGE




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